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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF LOUISIANA

    CALLEN J. CORTEZ                                          CIVIL ACTION

    VERSUS                                                      NO. 20-2389

    LAMORAK INSURANCE COMPANY,                              SECTION “R” (1)
    ET AL.


                          ORDER AND REASONS

       Before the Court are three motions seeking dismissal of the third-party

claims of Albert L. Bossier, Jr. Specifically, on February 25, 2022, third-

party defendant Trinity Industries, Inc. (“Trinity”) filed a motion for

summary judgment, seeking dismissal of Bossier’s third-party claims, on the

grounds of preemption under the Longshore and Harbor Workers’

Compensation Act. 1 Plaintiff Callen Cortez opposes the motion.2

       On April 12, 2022, third-party defendant Continental Insurance

Company (“Continental”), as the alleged insurer of Halter Marine Services,

Inc. (“Halter Marine”) and certain of its executive officers, filed a motion to

dismiss Bossier’s third-party claims under Rule 25(a)(1) of the Federal Rules

of Civil Procedure.3 No party opposes this motion.




1      R. Doc. 430.
2      R. Doc. 677.
3      R. Doc. 905.
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      On April 27, 2022, defendants Liberty Mutual Insurance Company

(“Liberty Mutual”) and Travelers Insurance Company (“Travelers”), as the

alleged insurers of B&B Engineering and Supply Company, Inc. (“B&B

Engineering”), filed a motion to dismiss Bossier’s third-party claims under

Rule 25(a)(1) of the Federal Rules of Civil Procedure.4 No party opposes this

motion.

      Because third-party claimant Albert L. Bossier, Jr. has died, and

because more than ninety days have passed since service of his notice of his

death, with no substitution of a successor or representative, the Court grants

all three motions, and dismisses Bossier’s third-party claims.



I.    DISCUSSION

      This is an asbestos exposure case. Plaintiff Callen Cortez alleges that

he contracted mesothelioma as a result of exposure to asbestos during his

employment with various companies. 5         Plaintiff was diagnosed with

mesothelioma on June 2, 2020.6 On July 1, 2020, plaintiff filed suit in the

Civil District Court for the Parish of Orleans against approximately thirty-

five defendants, including former employers, manufacturers, premises



4     R. Doc. 991.
5     R. Doc. 1-1 (Complaint).
6     Id. at 10 (Complaint ¶ 17).
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owners, and insurance companies. 7 On August 31, 2020, the case was

removed to federal court.8

      On September 4, 2020, defendant Albert L. Bossier, Jr., sued by Cortez

in his capacity as an officer of Huntington Ingalls, Inc. (“Avondale”), filed

cross-claims against multiple codefendants, including Continental, as the

alleged insurer of Halter Marine and certain executive officers, and Liberty

Mutual and Travelers, as the alleged insurers of B&B Engineering. 9 On

December 28, 2020, Bossier filed a supplemental third-party complaint

against Trinity, as the alleged successor of Halter Marine.10

      Albert L. Bossier, Jr. died on November 14, 2021.11 On January 7,

2022, counsel for Bossier filed a suggestion of death into the record in this

case. 12 All counsel of record in this case were electronically served with this

notice of death. Under Rule 25(a)(1) of the Federal Rules of Civil Procedure,

“[i]f a party dies, . . . [a] motion for substitution may be made by any party

or by the decedent’s successor or representative.” Fed. R. Civ. P. 25(a)(1). It

further provides that, “[i]f a motion is not made within 90 days after service



7     Id. at 1-3 ¶¶ 1-2; id. at 45-48.
8     R. Doc. 1 (Notice of Removal).
9     R. Doc. 17 at 19-22 (Cross-Claims of Albert L. Bossier, Jr.).
10    R. Doc. 126 at 1 (Supplemental Third-Party Complaint of Albert L.
      Bossier, Jr.)
11    R. Doc. 361 (Suggestion of Death).
12    Id.
                                       3
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of a statement noting the death, the action by or against the decedent must

be dismissed.” Id. (emphasis added).

      More than ninety days have passed since service of Bossier’s suggestion

of death, and no motion for substitution has been made. Accordingly,

pursuant to Rule 25(a)(1), the Court must dismiss Bossier’s third-party

claims. The three motions before the Court, which each seek dismissal of

those claims, must therefore be granted.



III. CONCLUSION

      Accordingly, the Court GRANTS: (1) Trinity’s motion for summary

judgment on Bossier’s third-party claims;13 (2) Continental’s motion to

dismiss Bossier’s third-party claims;14 and (3) Liberty Mutual and Travelers’s

motion to dismiss Bossier’s third-party claims. 15 These claims are hereby

DISMISSED with PREJUDICE.



           New Orleans, Louisiana, this _____
                                         19th day of May, 2022.


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                            SARAH S. VANCE
                     UNITED STATES DISTRICT JUDGE

13    R. Doc. 430.
14    R. Doc. 905.
15    R. Doc. 991.
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